     Case 7:18-cv-00509-MFU Document 9 Filed 04/12/19 Page 1 of 1 Pageid#: 63
                                                                         CLERK'S OFFICE U.S. DIST. COURT
                                                                                 AT ROANOKE, VA
                                                                                      FILED


                        IN THE UNITED STATES DISTRICT COURT     APR 12 2019
                      . FOR THE WESTERN DISTRICT OF VIRGINIA JU~~UDLEY,  CLERK
                                 ROANOKE DIVISION           BY:
                               I                                     c

S.USALIFE INSURANCE                                )
COMPANY INC.,                                      )
                                                   )
         Plaintiff,                                )      Case No. 7:18-cv-509
                                                   )
v.                                                 )
                                                   )
CHRISTA BRIELLE NINO,                              )      By: Michael F. Urbanski
                                                   )      ChiefUnited States District Judge
         Defendant.                                )

                                           ORDER

         This matter is before the court on plaintiff S.USA Life Insurance Company, Inc.'s

Notice of Voluntary Dismissal (ECF No. 8), pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure. Accordingly, the court ORDERS that the above-captioned matter

is DISMISSED without prejudice and STRICKEN from the active docket of the court.

         It is so ORDERED.

                                         - Entered:        6'-f ~ ( L       ~ 2(!) J \

                                         t~l 'P!~ckJ {: ~~
                                            Michael F.     ansKi
                                            United 2tites DistrictJudge ·
                                                   <1'4
